          Case 2:17-cv-01731-TSZ Document 170 Filed 07/26/19 Page 1 of 4



1                                                                 The Honorable Thomas S. Zilly

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8                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
9                                     AT SEATTLE

10
       STRIKE 3 HOLDINGS, LLC, a
11     Delaware corporation,                            No. 2:17-cv-01731-TSZ

12                              Plaintiff,              PRAECIPE WITHDRAWING
                                                        REQUEST FOR CERTAIN RELIEF
13              v.                                      IN PLAINTIFF/COUNTER-
                                                        DEFENDANT MOTION TO COMPEL
14     JOHN DOE, subscriber assigned IP                 PRODUCTION OF DOCUMENTS
       address 73.225.38.130,                           (DKT. NO. 141)
15
                                Defendant.
16

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18          Plaintiff/Counter-Defendant Strike 3 Holdings, LLC hereby withdraws its request
19   for certain relief in its Motion to Compel Production of Documents (Dkt. No. 141).
20   Specifically, Plaintiff withdraws its request for entry of an order compelling responses to
21   Request for Production Nos. 46, 47, and 48. However, Plaintiff still seeks an order
22   compelling Defendant’s response to Request for Production No. 41. A revised proposed
23   order is submitted herewith.
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     PRAECIPE WITHDRAWING REQUEST FOR CERTAIN
     RELIEF IN PLAINTIFF/COUNTER-DEFENDANT’S
     MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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1    DATED this 26th day of July, 2019
2                                        LAW OFFICES OF
3                                        LINCOLN BANDLOW, PC
                                         By: /s/ Lincoln Bandlow
4                                        Lincoln D. Bandlow, Admitted Pro Hac Vice
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6                                        Telephone: 310-556-9680
7                                        Facsimile: 310-861-5550
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9                                        THE ATKIN FIRM, LLC
                                         By: /s/ John C. Atkin
10
                                         John C. Atkin, Admitted Pro Hac Vice
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15                                       By: /s/ Jeremy E. Roller
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     PRAECIPE WITHDRAWING REQUEST FOR CERTAIN
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          Case 2:17-cv-01731-TSZ Document 170 Filed 07/26/19 Page 3 of 4



1                                   CERTIFICATE OF SERVICE
2            I, Jeremy Roller, hereby certify that on July 26, 2019, I electronically filed the
3    foregoing document with the Clerk of the Court using the CM/ECF system which will send
4    notification of filing to the following parties:
5
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                     E-mail: joshua@turnhamlaw.com
7                    THE LAW OFFICE OF JOSHUA L. TURNHAM PLLC
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8                    Seattle, Washington 98154
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     PRAECIPE WITHDRAWING REQUEST FOR CERTAIN
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          Case 2:17-cv-01731-TSZ Document 170 Filed 07/26/19 Page 4 of 4



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6                  Attorneys for Defendant
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8
     DATED this 26th day of July 2019 at Seattle, Washington.
9

10                                              /s/ Jeremy Roller
                                                Jeremy Roller
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     PRAECIPE WITHDRAWING REQUEST FOR CERTAIN
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     MOTION TO COMPEL PRODUCTION OF DOCUMENTS
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